            Case 16-21093              Doc 201         Filed 12/21/18 Entered 12/21/18 11:27:56                              Desc Main
                                                        Document     Page 1 of 14
Bonnie C. Mangan
Bonnie C. Mangan, P.C.
Westview Office Park
1050 Sullivan Avenue, Ste A3
South Windsor, CT 06074
(860) 644-4204
                     Chapter 7 Trustee

                                               UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF CONNECTICUT
                                                     HARTFORD DIVISION

                  In re: ZIPADELLI, JON                                                             § Case No. 16-21093-JJT
                                                                                                    §
                                                                                                    §
             Debtor(s)                                                                              §

                                               TRUSTEE'S FINAL REPORT (TFR)

                    The undersigned trustee hereby makes this Final Report and states as follows:

                   1. A petition under Chapter 7 of the United States Bankruptcy Code
           was filed on July 05, 2016. The undersigned trustee was appointed on July 05, 2016.

                     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                    3. All scheduled and known assets of the estate have been reduced to cash, released to
           the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
           pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
           disposition of all property of the estate is attached as Exhibit A.




                  1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

          UST Form 101-7-TFR (05/1/2011)
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                 4. The trustee realized the gross receipts of Page 2$of 14
                                              Document                                                27,000.00

                                     Funds were disbursed in the following amounts:
                                     Payments made under an
                                       interim distribution                                                   0.00
                                     Administrative expenses                                                  3.28
                                     Bank service fees                                                      490.25
                                     Other payments to creditors                                              0.00
                                     Non-estate funds paid to 3rd Parties                                     0.00
                                     Exemptions paid to the debtor                                            0.00
                                     Other payments to the debtor                                             0.00
                                     Leaving a balance on hand of 1                  $                26,506.47
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.

               6. The deadline for filing non-governmental claims in this case was 03/06/2017
       and the deadline for filing governmental claims was 01/01/2017. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $3,450.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $3,450.00, for a total compensation of $3,450.00. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $263.93, for total expenses of
               2
       $263.93.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
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         Pursuant to Fed R Bank P 5009,             Page
                                        I hereby certify,   3 ofpenalty
                                                          under  14 of perjury, that the
foregoing report is true and correct.

Date: 11/23/2018                By: /s/Bonnie C. Mangan
                                    Trustee, Bar No.: CT03759




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TFR (05/1/2011)
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                                                                                                                                                                    Exhibit A


                                                                                Form 1                                                                              Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 16-21093-JJT                                                               Trustee:        (270170)     Bonnie C. Mangan
Case Name:        ZIPADELLI, JON                                                        Filed (f) or Converted (c): 07/05/16 (f)
                                                                                        §341(a) Meeting Date:        08/12/16
Period Ending: 11/23/18                                                                 Claims Bar Date:             03/06/17

                               1                                        2                          3                      4                 5                   6

                    Asset Description                                Petition/            Estimated Net Value         Property          Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,   Abandoned          Received by     Administered (FA)/
                                                                      Values            Less Liens, Exemptions,      OA=§554(a)          the Estate      Gross Value of
Ref. #                                                                                      and Other Costs)                                            Remaining Assets

 1       Property at 402 Allen Street, New Britain, CT                135,500.00                           0.00                                  0.00                   FA

 2       Property at 1504 Stanley Street, New Britain, CT             160,000.00                           0.00                                  0.00                   FA

 3       Property at 134 Stratford Road, New Britain, CT              150,300.00                           0.00                                  0.00                   FA

 4       Property at 344 Broad Street, New Britain, CT                210,000.00                           0.00                              4,000.00                   FA
          fully encumbered part of sale pending - Motion to sell
         ECF No. 112

 5       Property at 1474 Stanley Street, New Britain, CT             241,100.00                           0.00                                  0.00                   FA

 6       Property at 213 Columbia Street, New Britain, CT             151,100.00                           0.00                                  0.00                   FA

 7       2009 Nissan Rogue                                              5,525.00                           0.00                                  0.00                   FA

 8       2014 Ford F250                                                20,800.00                           0.00                                  0.00                   FA

 9       1994 Toyota Camry                                                  500.00                         0.00                                  0.00                   FA

10       Household goods and furnishings                                3,500.00                           0.00                                  0.00                   FA

11       Television                                                         100.00                         0.00                                  0.00                   FA

12       Wearing Apparel                                                    200.00                         0.00                                  0.00                   FA

13       Checking xxx4117 at People's United Bank                           107.67                         0.00                                  0.00                   FA

14       Checking xx0205 at People's United Bank                              4.00                         0.00                                  0.00                   FA

15       Checking xxx7177 at People's United Bank                             0.00                         0.00                                  0.00                   FA

16       Checking xxx8750 at TD Bank                                          0.00                         0.00                                  0.00                   FA

17       Checking xxx0495 at TD Bank                                        847.15                         0.00                                  0.00                   FA

18       Central Connecticut Development, LLC 50%                       Unknown                            0.00                                  0.00                   FA
          owns 1330, 1336 & 1340 Stanley Street, New
         Britain, CT

19       Central Connecticut Equities, LLC 25%                          Unknown                        4,000.00                              4,000.00                   FA
          Owns 63 & 66 Cottage Street, New Britain, CT , 128
         Stratford Road, New Britain, CT

20       MRZ, LLC 25%                                                   Unknown                        4,000.00                              4,000.00                   FA
          owns 1394 Stanley Street, New Britain, CT & 125,
         141 & 145 Stratford Road, New Britain, CT

21       6 Wellington, LLC 25%                                          Unknown                        2,000.00                              2,000.00                   FA
          owns 6 Wellington Road, New Britain, CT


                                                                                                                                    Printed: 11/23/2018 05:37 PM    V.14.14
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                                                                               Form 1                                                                                   Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 16-21093-JJT                                                              Trustee:        (270170)     Bonnie C. Mangan
Case Name:         ZIPADELLI, JON                                                      Filed (f) or Converted (c): 07/05/16 (f)
                                                                                       §341(a) Meeting Date:        08/12/16
Period Ending: 11/23/18                                                                Claims Bar Date:             03/06/17

                                1                                        2                        3                       4                    5                   6

                     Asset Description                               Petition/           Estimated Net Value          Property            Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled      (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                      Values           Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                     and Other Costs)                                                Remaining Assets

22        64 Roxbury, LLC 25%                                            Unknown                      2,000.00                                  2,000.00                     FA
           owns 64 Roxbury Road, New Britain, Ct

23        Andrews Estates, LLC 50%                                       Unknown                      4,000.00                                  4,000.00                     FA
           owns 1395 & 1484 Stanley Street, New Britain, CT :
          Ditech Financial, LLC has a lien agasint 1395 Stanley
          Street for $110,519.00.

24        Zipadelli Group, LLC 50%                                       Unknown                      Unknown                                       0.00                     FA

25        IRA American Funds                                             1,012.40                         0.00                                      0.00                     FA

26        Claims v. Jason Maxwell, Nicolas Rucci, Ellen                 65,000.00                     4,000.00                                  4,000.00                     FA
           Veneziano & James Macchio, See Docket #
          HHB-CV-XX-XXXXXXX-S

27        Accounts Receivable - Back Rent                               63,121.75                         0.00                                      0.00                     FA

28        Baseball Card Collection                                      10,000.00                         0.00                                      0.00                     FA

29        Checking XXX95 at TD Bank                                      1,523.41                         0.00                                      0.00                     FA

30        Claim vs Robert Zdon, Receiver (u)                             Unknown                      3,000.00                                  3,000.00                     FA
           For return of fees

 30      Assets      Totals (Excluding unknown values)              $1,220,241.38                 $23,000.00                                  $27,000.00                  $0.00



      Major Activities Affecting Case Closing:

      Initial Projected Date Of Final Report (TFR):       December 31, 2018              Current Projected Date Of Final Report (TFR):       November 23, 2018 (Actual)




                                                                                                                                         Printed: 11/23/2018 05:37 PM     V.14.14
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                                                                                  Form 2                                                                                            Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         16-21093-JJT                                                                   Trustee:              Bonnie C. Mangan (270170)
Case Name:           ZIPADELLI, JON                                                                 Bank Name:            Rabobank, N.A.
                                                                                                    Account:              ******0266 - Checking Account
Taxpayer ID #:       **-***3016                                                                     Blanket Bond:         $19,960,270.00 (per case limit)
Period Ending: 11/23/18                                                                             Separate Bond: N/A

   1             2                           3                                      4                                                 5                     6                   7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements              Checking
  Date      Check #           Paid To / Received From               Description of Transaction                   T-Code              $                  $                 Account Balance
06/29/17                   Nicola G. Rucci                  sales proceeds for Trustee's Motion to Sell                               20,000.00                                  20,000.00
                                                            ECF No. 112.
               {4}                                                                              4,000.00       1110-000                                                          20,000.00
               {19}                                                                             4,000.00       1129-000                                                          20,000.00
               {20}                                                                             4,000.00       1129-000                                                          20,000.00
               {23}                                                                             4,000.00       1129-000                                                          20,000.00
               {26}                                                                             4,000.00       1149-000                                                          20,000.00
07/31/17                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           27.80          19,972.20
08/31/17                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           31.60          19,940.60
09/29/17                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           27.72          19,912.88
10/31/17                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           30.55          19,882.33
11/28/17       101         BONNIE C. MANGAN                 BOND PREMIUM PAYMENT ON BANK                       2300-000                                            3.28          19,879.05
                                                            BALANCE AS OF 10/31/2017 FOR Bond
                                                            #016027937 12-1-17 TO 12-1-18
11/30/17                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           28.59          19,850.46
12/29/17                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           27.59          19,822.87
01/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           31.36          19,791.51
02/28/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           26.56          19,764.95
03/30/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           28.42          19,736.53
04/30/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           29.35          19,707.18
05/18/18       {30}        Zdon & Associates, LLC           settlement re: dispute over receiver fees          1249-000                3,000.00                                  22,707.18
05/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           38.94          22,668.24
06/29/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           37.07          22,631.17
07/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           40.85          22,590.32
08/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           39.51          22,550.81
09/28/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           20.36          22,530.45
10/31/18                   Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                           23.98          22,506.47

                                                                                  ACCOUNT TOTALS                                      23,000.00                  493.53        $22,506.47
                                                                                          Less: Bank Transfers                             0.00                    0.00
                                                                                  Subtotal                                            23,000.00                  493.53
                                                                                          Less: Payments to Debtors                                                0.00
                                                                                  NET Receipts / Disbursements                      $23,000.00                  $493.53




{} Asset reference(s)                                                                                                                          Printed: 11/23/2018 05:37 PM         V.14.14
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                                                                                  Form 2                                                                                            Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:         16-21093-JJT                                                                   Trustee:             Bonnie C. Mangan (270170)
Case Name:           ZIPADELLI, JON                                                                 Bank Name:           Rabobank, N.A.
                                                                                                    Account:             ******0267 - Checking Account
Taxpayer ID #:       **-***3016                                                                     Blanket Bond:        $19,960,270.00 (per case limit)
Period Ending: 11/23/18                                                                             Separate Bond: N/A

   1             2                         3                                        4                                                5                     6                   7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements              Checking
  Date      Check #           Paid To / Received From               Description of Transaction                  T-Code              $                  $                 Account Balance
04/17/18                   James Macchio                    funds to purchase interest in 6 Wellington LLC                            4,000.00                                     4,000.00
                                                            and 64 Roxbury LLC
               {21}                                                                             2,000.00       1129-000                                                            4,000.00
               {22}                                                                             2,000.00       1129-000                                                            4,000.00

                                                                                 ACCOUNT TOTALS                                       4,000.00                    0.00          $4,000.00
                                                                                         Less: Bank Transfers                             0.00                    0.00
                                                                                 Subtotal                                             4,000.00                    0.00
                                                                                         Less: Payments to Debtors                                                0.00
                                                                                 NET Receipts / Disbursements                        $4,000.00                   $0.00



                                                                                                                                       Net             Net                      Account
                                                                                 TOTAL - ALL ACCOUNTS                                Receipts     Disbursements                 Balances

                                                                                 Checking # ******0266                               23,000.00                  493.53          22,506.47
                                                                                 Checking # ******0267                                4,000.00                    0.00             4,000.00

                                                                                                                                   $27,000.00                  $493.53        $26,506.47




{} Asset reference(s)                                                                                                                         Printed: 11/23/2018 05:37 PM          V.14.14
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                                               Court Claims Register
                                    Case: 16-21093-JJT               ZIPADELLI, JON
                                                                                                   Claims Bar Date:   03/06/17
 Claim    Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/         Paid             Claim
Number    <Category>, Priority                 Date Filed    Notes                  Allowed          to Date          Balance
  3S     Savings Bank of Danbury               Secured                               $75,000.00         $0.00            $0.00
         c/o Ross G. Fingold, Esq.,Stokesbury, 12/22/16                                    $0.00
         Shipman & Fingold,10 Waterside Drive, Su
         Farmington, CT 06032
         <4110-00 Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)>, 100
 12      Ford Motor Credit Company LLC         Secured                               $32,043.71         $0.00            $0.00
         P O Box 62180                         01/20/17                                    $0.00
         Colorado Springs, CO 80962-4400
         <4210-00 Pers. Prop. & Intangibles--Consensual Liens (UCC, chattel, PMSI)>, 100
         Bonnie C. Mangan                      Admin Ch. 7                            $3,450.00         $0.00         $3,450.00
         Westview Office Park                  07/05/16                               $3,450.00
         1050 Sullivan Avenue, Ste A3
         South Windsor, CT 06074
         <2100-00 Trustee Compensation>, 200
         Bonnie C. Mangan                      Admin Ch. 7                             $263.93          $0.00          $263.93
         Westview Office Park                  07/05/16                                $263.93
         1050 Sullivan Avenue, Ste A3
         South Windsor, CT 06074
         <2200-00 Trustee Expenses>, 200
ADMIN1   JA MORGAN LAW, LLC                    Admin Ch. 7                            $2,997.50         $0.00         $2,997.50
         16 Spring Lane                        07/05/16                               $2,997.50
         Farmington, CT 06032
         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200
ADMIN2   JA MORGAN LAW, LLC                    Admin Ch. 7                                 $3.00        $0.00            $3.00
         16 Spring Lane                        07/05/16                                    $3.00
         Farmington, CT 06032
         <3220-00 Attorney for Trustee Expenses (Other Firm)>, 200
 11      Stephanie Fontano                     Priority                               $1,200.00         $0.00         $1,200.00
         336 Olde Stage Road                   01/12/17                               $1,200.00
                                                             Okay as Priorty Claim
         Glastonbury, CT 06033
         <5600-00 Deposits>, 540
  1      Connecticut Natural Gas Corporation   Unsecured                              $1,889.66         $0.00         $1,889.66
         76 Meadow Street                      12/14/16                               $1,889.66
                                                             Okay as General Unsecured Claim
         East Hartford, CT 06108
         <7100-00 General Unsecured § 726(a)(2)>, 610
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                                              Court Claims Register
                                       Case: 16-21093-JJT           ZIPADELLI, JON
                                                                                                         Claims Bar Date:   03/06/17
 Claim   Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/                 Paid            Claim
Number   <Category>, Priority                 Date Filed    Notes                  Allowed                  to Date         Balance
 2       Dr. Dennis S. Gianoli                Unsecured                                 $64.00                 $0.00           $64.00
         5 Webster Square Road                12/21/16                                  $64.00
                                                            Okay as General Unsecured Claim
         Berlin, CT 06037
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3U      Savings Bank of Danbury              Unsecured                             $41,087.51                 $0.00        $41,087.51
         c/o Ross G. Fingold, Esq.,Stokesbury, 12/22/16                             $41,087.51
         Shipman & Fingold,10 Waterside Drive, Su
         Farmington, CT 06032
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4       Central Connecticut Equities, LLC    Unsecured                                  $0.00                 $0.00                $0.00
         C. Donald Neville, Esq.              01/05/17                                   $0.00
         65 Memorial Road, Suite 300                        Pursuant to Order re Motion for Authority to Sell, Claim 4-1 will not
         West Hartford, CT 06107                            receive a distribution from the Estate (ECF #159
                                                            Claim lists the amount of the claim as "amount to be determined". No
                                                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 5       Jason Maxwell                        Unsecured                                  $0.00                 $0.00                $0.00
         C. Donald Neville, Esq.              01/05/17                                   $0.00
         65 Memorial Road, Suite 300                        Claim lists the amount of the claim as "amount to be determined". No
         West Hartford, CT 06107                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 6       MRZ Properties, LLC                  Unsecured                                  $0.00                 $0.00                $0.00
         C. Donald Neville, Esq.              01/05/17                                   $0.00
         65 Memorial Road, Suite 300                        Pursuant to Order re Motion for Authority to Sell, Claim 6-1 will not
         West Hartford, CT 06107                            receive a distribution from the Estate (ECF #159)
                                                            Claim lists the amount of the claim as "amount to be determined". No
                                                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 7       Andrews Estates, LLC                 Unsecured                                  $0.00                 $0.00                $0.00
         c/o C. Donald Neville, Esq.          01/05/17                                   $0.00
         65 Memorial Road, Suite 300                        Pursuant to Order re Motion for Authority to Sell, Claim 7-1 will not
         West Hartford, CT 06107                            receive a distribution from the Estate (ECF #159)
                                                            Claim lists the amount of the claim as "amount to be determined". No
                                                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
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                                              Court Claims Register
                                       Case: 16-21093-JJT           ZIPADELLI, JON
                                                                                                          Claims Bar Date:   03/06/17
 Claim   Claimant Name /                      Claim Type/   Claim Ref./         Amount Filed/                Paid             Claim
Number   <Category>, Priority                 Date Filed    Notes                   Allowed                 to Date          Balance
 8       James Macchio                        Unsecured                                   $0.00                $0.00                 $0.00
         c/o C. Donald Neville, Esq.          01/05/17                                    $0.00
         65 Memorial Road, Suite 300                        Pursuant to Order re Motion for Authority to Sell, Claim 8-1 will not
         West Hartford, CT 06107                            receive a distribution from the Estate (ECF #199)
                                                            Claim lists the amount of the claim as "amount to be determined". No
                                                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 9       Ellen Venziano                       Unsecured                                   $0.00                $0.00                 $0.00
         C. Donald Neville, Esq.              01/05/17                                    $0.00
         65 Memorial Road, Suite 300                        Claim lists the amount of the claim as "amount to be determined". No
         West Hartford, CT 06107                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 10      Nicola Rucci                         Unsecured                                   $0.00                $0.00                 $0.00
         C. Donald Neville, Esq.              01/05/17                                    $0.00
         65 Memorial Road                                   Pursuant to Order re Motion for Authority to Sell, Claim 10-1 will not
         West Hartford, CT 06107                            receive a distribution from the Estate (ECF #159)
                                                            Claim lists the amount of the claim as "amount to be determined". No
                                                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 13      Anna Zastampowka                     Unsecured                                   $0.00                $0.00                 $0.00
         c/o C. Donald Neville, Esq.          03/02/17                                    $0.00
         65 Memorial Road, Suite 300                        Pursuant to Order re Motion for Authority to Sell, Claim 13-1 will not
         West Hartford, CT 06107                            receive a distribution from the Estate (ECF #199)
                                                            Claim lists the amount of the claim as "amount to be determined". No
                                                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 14      James Macchio                        Unsecured                                   $0.00                $0.00                 $0.00
         c/o C. Donald Neville, Esq.          03/02/17                                    $0.00
         65 Memorial Road, Suite 300                        Claim lists the amount of the claim as "amount to be determined". No
         West Hartford, CT 06107                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 15      Guy Neumann                          Unsecured                                   $0.00                $0.00                 $0.00
         c/o C. Donald Neville, Esq.          03/02/17                                    $0.00
         65 Memorial Rd., Ste 300                           Claim lists the amount of the claim as "amount to be determined". No
         West Hartford, CT 06107                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
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                                              Court Claims Register
                                       Case: 16-21093-JJT           ZIPADELLI, JON
                                                                                                        Claims Bar Date:   03/06/17
 Claim   Claimant Name /                      Claim Type/   Claim Ref./        Amount Filed/                Paid            Claim
Number   <Category>, Priority                 Date Filed    Notes                  Allowed                 to Date         Balance
 16      6 Wellington, LLC                    Unsecured                                  $0.00                $0.00                $0.00
         c/o C. Donald Neville, Esq.          03/02/17                                   $0.00
         65 Memorial Rd., Ste. 300                          Claim lists the amount of the claim as "amount to be determined". No
         West Hartford, CT 06107                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 17      64 Roxbury, LLC                      Unsecured                                  $0.00                $0.00                $0.00
         c/o C. Donald Neville, Esq.          03/02/17                                   $0.00
         65 Memorial Rd., Ste. 300                          Claim lists the amount of the claim as "amount to be determined". No
         West Hartford, CT 06107                            amendments filed indicating an amount claimed


         <7100-00 General Unsecured § 726(a)(2)>, 610
 18      TD Bank, N.A.                        Unsecured                              $7,874.60                $0.00         $7,874.60
         Martin A. Mooney, Esq.               03/03/17                               $7,874.60
         950 New Loudon Road, Suite 109
         Latham, NY 12110
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                                Case Total:                  $0.00         $58,830.20
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                                   TRUSTEE'S PROPOSED DISTRIBUTION                                     Exhibit D

           Case No.: 16-21093-JJT
           Case Name: ZIPADELLI, JON
           Trustee Name: Bonnie C. Mangan
                                               Balance on hand:                          $          26,506.47
             Claims of secured creditors will be paid as follows:

Claim        Claimant                              Claim Allowed Amount Interim Payments               Proposed
No.                                              Asserted       of Claim          to Date              Payment
   3S        Savings Bank of Danbury            75,000.00                0.00                0.00            0.00
  12         Ford Motor Credit                  32,043.71                0.00                0.00            0.00
             Company LLC
                                               Total to be paid to secured creditors:    $               0.00
                                               Remaining balance:                        $          26,506.47

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                            Total Requested Interim Payments        Proposed
                                                                                      to Date       Payment
Trustee, Fees - Bonnie C. Mangan                                    3,450.00                 0.00       3,450.00
Trustee, Expenses - Bonnie C. Mangan                                  263.93                 0.00          263.93
Attorney for Trustee, Fees - JA MORGAN LAW, LLC                     2,997.50                 0.00       2,997.50
Attorney for Trustee, Expenses - JA MORGAN LAW, LLC                      3.00                0.00            3.00
                           Total to be paid for chapter 7 administration expenses:       $           6,714.43
                           Remaining balance:                                            $          19,792.04

             Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                            Total Requested Interim Payments        Proposed
                                                                                      to Date       Payment
                                                     None
                           Total to be paid for prior chapter administrative expenses:   $               0.00
                           Remaining balance:                                            $          19,792.04




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $1,200.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
 11            Stephanie Fontano                                       1,200.00                 0.00       1,200.00
                                                 Total to be paid for priority claims:      $           1,200.00
                                                 Remaining balance:                         $          18,592.04
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 50,915.77 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 36.5 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            Connecticut Natural Gas Corporation                     1,889.66                 0.00         690.02
  2            Dr. Dennis S. Gianoli                                      64.00                 0.00          23.37
  3U           Savings Bank of Danbury                                41,087.51                 0.00      15,003.22
 18            TD Bank, N.A.                                           7,874.60                 0.00       2,875.43
                             Total to be paid for timely general unsecured claims:          $          18,592.04
                             Remaining balance:                                             $               0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $                0.00


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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments          Proposed
No                                                                   of Claim          to Date         Payment
                                                       None
                                                Total to be paid for subordinated claims: $                0.00
                                                Remaining balance:                        $                0.00




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